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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


ADAM SEMPREVIVO


                     Plaintiff
                                                     Civil No.                 19-1400        (RJL)
               vs.

GEORGETOWN UNIVERSITY                               Category M



                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on   05/22/2019     from Judge Randolph D. Moss

to Judge Richard J. Leon                            by direction of the Calendar Committee.



                                   (Randomly Reassigned)


                                                               JUDGE ELLEN S. HUVELLE
                                                               Chair, Calendar and Case
                                                               Management Committee


cc:           Judge Randolph D. Moss

              Judge Richard J. Leon                        & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
